Case 13-14780-mdc         Doc 92     Filed 09/18/14 Entered 09/23/14 14:40:27             Desc Main
                                     Document     Page 1 of 3



  IN RE:                                               Chapter 13
                                                       Bankruptcy No. 13-14780 (MDC)

  Otis W. Terry, Jr.,                                  Claims litigation
                                                       Objection to Confirmation

           Debtor



                                     CONSENT ORDER
                               rt

           AND NOW, thisiR day of                      upon stipulation of Otis Terry and Patricia

  Terry and 2013 N. 16th Street, LLC (hereinafter, "2013 LLC") and Todd Joseph (hereinafter,

  "Joseph") , a copy of which is attached hereto as "Exhibit A", it is hereby ORDERED and

  DECREED, in resolution of the disputes between the named parties concerning competing

  proofs of claim, the provisions of Debtor's Chapter 13 Plan and regarding the validity of a

  certain Tax Sale Deed conveying Debtor's interest in Debtor's property, as follows :

                    1.   The Stipulation attached hereto as Exhibit A is approved as an Order of

  this court and shall bind the parties accordingly;

                    2.   The objection to confirmation of Debtor's chapter 13 plan filed by 2013 N.

  lb"' Street, LLC (docket item # 45), is WITHDRAWN. The clerk of the court is directed to note

  this on the docket;

                    3.   The proof of Claim, Claim # 1, filed by Debtor on behalf of 2013 LLC

  pursuant to Bankruptcy Rule 3004 is DISALLOWED as filed;

                    4.   The substitute proof of claim. Claim #2, filed by 2013 LLC is

  DISALLOWED as filed;

                    5.   The Tax Deed recorded with the Department of Records on January 15,

  2013 and acknowledged by the Sheriff on December 11, 2012 purporting to convey 7128 Mount
Case 13-14780-mdc         Doc 92     Filed 09/18/14 Entered 09/23/14 14:40:27                 Desc Main
                                     Document     Page 2 of 3



  Airy Place, Philadelphia, PA 19119 to 2013 N. 16"^ Street LLC is avoided pursuant to 11 U.S.C.

  §§544(0) and 548(a)(1);

                 6.      Pursuant to 11 U.S.C. §550(a)(l) title to 7128 Mount Airy Place,

  Philadelphia, PA 19119 is recovered by Debtor and Co-Debtor Patricia Terry for the benefit of

  the estate from 2013 N. 16"' Street LLC.

                 7.      By virtue of the avoidance of the Sheriffs Deed, and the property subject

  to the deed having been recovered from 2013 LLC, 2013 LLC has a lien on 7128 Mount Airy

  Place, Philadelphia, PA pursuant to 11 U.S.C. §550(e)(l) in the amount set forth below in

  paragraph 8;

                 8.      By consent of the parties it is hereby ORDERED 2013 LLC has an

  allowed secured claim in the amount of $125,624.66, secured by the aforementioned lien on

  7128 Mount Airy Place, Philadelphia, PA 19119. The clerk of the court shall mark the claims

  docket to reflect the disallowance of Claim # 1 and Claim # 2 and to note the allowed secured

  claim provided by this ORDER ;

                 9.      The allowed secured claim provided in this ORDER shall be paid in

  accordance with the provisions of the aforementioned Stipulation of Settlement and in

  accordance with the provisions of Debtor's Confirmed Chapter 13 Plan that is prepared and filed

  by Debtor pursuant thereto;

                 10.     The avoidance of the Tax Sale l^ccd to 2013 LLC as set forth in pa ragraph

  5 above and the recovery of the property transferred by that deed, pursuant to 11 U .S.C.

  §550(a)(l), set forth in p aragraph 6 above, shall not disturb the distribution by the Sheriff of the

  City of Philadelphia from the SI 20,000.00 that were paid to it b y 2013 LLC and that were used

                                                   -2-
Case 13-14780-mdc        Doc 92     Filed 09/18/14 Entered 09/23/14 14:40:27                 Desc Main
                                    Document     Page 3 of 3



  to satisfy liens on 7128 Mount Airy Place, Philadelphia, PA 19119 or to pay the Sheriffs costs,

  fees and commissions related to the sale. The liens that were paid off with funds distributed by

  the Sheriff from the sale constitutes part of the "improvcmenf' to 7128 Mount Airy Place,

  Philadelphia, PA 19119, within the meaning if 11 U.S.C. §550(e)(2)(C) and (D), which entitles

  2013 LLC to the lien provided for in paragraphs7 and 8 above.

                 11.     Immediately upon payment by the Debtor to 2013 LLC of funds from the

  Sheriff, in an amount of not less than $63,00000, but not before, this Order may be recorded by

  the Debtor with the City of Philadelphia Department of Records to reflect that title to the

  property remains as it was prior to the recording of the aforementioned Tax Sale Deed and that

  the aforementioned tax Sale Deed is; AVOIDED;

                 12.    This court shall retain jurisdiction over this order as is necessary to insure

  its enforcement..

                                                So Ordered,


                                                        «e D. Coleman, B.J.
                                              Il4/^J)6L/A}e

  cc:    Irwin Trauss, Esquire
         Jane Nylund, Esquire
         Joanne Werdell, Esquire
         Philadelphia Legal Assistance
         718 Arch Street, Suite 300N
         Philadelphia, PA 19106

         Jacqueline Chandler, Esquire
         William C. Miller, Trustee
         Ills. Independence Mall
         Suite 583
         Philadelphia, PA 19106



                                                  -3-
